                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,

                           Plaintiff,

                  v.

 THE STATE OF ALASKA, THE                           Case No. 1:22-cv-00054-SLG
 ALASKA DEPARTMENT OF FISH
 & GAME, and DOUG VINCENT-
 LANG, in his official capacity as
 Commissioner of the Alaska
 Department of Fish & Game,

                           Defendants.




        ORDER REGARDING KUSKOKWIM RIVER INTER-TRIBAL FISH
                COMMISSION’S MOTION TO INTERVENE

       Before the Court at Docket 12 is the Kuskokwim River Inter-Tribal Fish

Commission’s (“the Commission”) Motion to Intervene as Plaintiff.1 Plaintiff United

States of America responded in non-opposition at Docket 13. Defendants State of

Alaska; Alaska Department of Fish & Game (“ADF&G”); and Doug Vincent-Lang,




1 The Commission joined Plaintiff’s Motion for Preliminary Injunction at Docket 14 and joined

Plaintiff’s reply in support of the Motion for Preliminary Injunction at Docket 24.




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Commissioner of ADF&G, responded in partial opposition at Docket 23. The

Commission replied at Docket 26.

       The Commission seeks “leave to intervene as a plaintiff in this action as of

right” or, alternatively, seeks permissive intervention.2 Defendants respond that

they take no position as to the Commission “interven[ing] in this matter generally,”

but Defendants oppose the Commission “being granted intervenor status during

the preliminary injunction phase of the litigation.”3            Specifically, Defendants

maintain that the Commission failed to seek expedited consideration of its motion

to intervene and has failed to show that its motion to intervene and joinder in

Plaintiff’s motion for a preliminary injunction were timely filed.4 Defendants assert

that they have not had adequate time to respond to issues raised by the

Commission with respect to Plaintiff’s pending Motion for Preliminary Injunction.5

I.     Standards for intervention as of right

       Federal Rule of Civil Procedure 24(a) requires district courts to allow a party

to intervene as a matter of right if the party “claims an interest relating to the

property or transaction that is the subject of the action, and is so situated that

disposing of the action may as a practical matter impair or impede the movant's



2 Docket 12 at 2–3.


3 Docket 23 at 2.


4 Docket 23 at 2.


5 Docket 23 at 2.




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ability to protect its interest, unless existing parties adequately represent that

interest.” This rule requires motions to intervene as of right to satisfy a four-part

test:

        (1) the motion must be timely; (2) the applicant must claim a
        significantly protectable interest relating to the property or transaction
        which is the subject of the action; (3) the applicant must be so situated
        that the disposition of the action may as a practical matter impair or
        impede its ability to protect that interest; and (4) the applicant’s
        interest must be inadequately represented by the parties to the
        action.6

“[T]he requirements for intervention are [to be] broadly interpreted in favor of

intervention.”7

        The only element challenged by Defendants is the motion’s timeliness, and

there only with respect to Plaintiff’s motion for a preliminary injunction. “Timeliness

is a flexible concept; its determination is left to the district court’s discretion.”8

District courts consider the totality of the circumstances to determining whether a

motion to intervene is timely, “with a focus on three primary factors: ‘(1) the stage

of the proceeding at which an applicant seeks to intervene; (2) the prejudice to

other parties; and (3) the reason for and length of the delay.’”9 The Ninth Circuit


6 Wilderness Soc’y v. U.S. Forest Serv., 630 F.3d 1173, 1177 (9th Cir. 2011) (en banc) (internal

quotations omitted) (quoting Sierra Club v. EPA, 995 F.2d 1478, 1481 (9th Cir. 1993)).
7 Smith v. L.A. Unified Sch. Dist., 830 F.3d 843, 853 (9th Cir. 2016) (second alteration in original)

(quoting United States v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004)).
8 Alisal Water, 370 F.3d at 921 (quoting Cal. Dep't of Toxic Substances Control v. Com. Realty
Projects, Inc., 309 F.3d 1113, 1119 (9th Cir. 2002)).
9 L.A. Unified Sch. Dist., 830 F.3d at 854 (quoting Alisal Water, 370 F.3d at 921).




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has instructed district courts to “bear in mind that the crucial date for assessing the

timeliness of a motion to intervene is when proposed intervenors should have been

aware that their interests would not be adequately protected by the existing

parties.”10

II.      Analysis

         Defendants first assert that they will be prejudiced if the Commission is

allowed to intervene at the preliminary injunction stage because they were “not

afforded adequate time to assess the additional arguments and representations of

fact” made in the Commission’s joinder motion.11 Defendants maintain that they

will be prejudiced “if the Court were to consider those arguments absent additional

time granted to [Defendants] to respond to the arguments on the merits.”12 The

Commission replies that in its June 3, 2022 joinder, it “expressly noted that it was

lodging the Joinder at that time . . . specifically to allow the other parties time to

consider and respond to the Joinder before the preliminary injunction hearing.”13

The Court notes that Defendants referenced, at least in part, the Commission’s

arguments in their opposition to the Motion for Preliminary Injection.14 Moreover,



10 Id.


11 Docket 23 at 5.


12 Docket 23 at 5.


13 Docket 26 at 3 (citing Docket 14).


14 Docket 17 at 24 & n. 84.




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the hearing on the Motion for Preliminary Injunction is not scheduled until June 21,

2022. This should have accorded sufficient time for Defendants to review and

consider the Commission’s arguments, particularly as it should have been

apparent that at least some degree of intervention would be granted to the

Commission, given that no party opposed their intervention for all other purposes

and the Commission’s interest in this controversy is clear. Nonetheless, given the

timing of this order, the Court will direct Defendants to file any response to the

Commission’s filings by 3:00 p.m. on June 20, 2022.15

       Defendants next assert that the Commission “unduly delayed seeking

intervention in this phase of the litigation” without adequate justification.16

Defendants fault the Commission for having not “filed the Motion to Join at the

earliest possible moment.”17 The Commission replies that it chose “to file the

motion [to intervene] after the resolution of the United States’ Motion for Temporary

Restraining Order so as not to complicate or delay the proceedings at that stage.”18

       The Court finds that the Commission’s motion to intervene is timely. The

Court notes that the litigation timeline in this case has been condensed and has

required very short deadlines for all participants. Notably, on May 13, 2022, the


15 The Court notes that June 20, 2022, is a federal holiday but is not a holiday for employees of

the State of Alaska.
16 Docket 23 at 6.


17 Docket 23 at 7.


18 Docket 26 at 2.




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State issued an emergency order that is at the heart of this case; that emergency

order impacted fishing activities scheduled to start on June 1, 2022.19 Plaintiff

timely sought a temporary restraining order on May 24, 2022.20 After a condensed

briefing schedule, the Court issued its order on Plaintiff’s motion for a temporary

restraining order on May 31, 2022.21 The Commission’s motion to intervene was

filed later that same day, and the joinder in Plaintiff’s preliminary injunction motion

was filed om June 3, 2022—clearly at an early stage of the proceedings.22 The

prejudice to Defendants is mitigated by the Court allowing Defendants to respond

to the Commission’s arguments, albeit again on a short deadline. The Court also

finds that the Commission had a reasonable explanation for its brief delay,

although it certainly would have been preferable for all concerned had it sought

expedited consideration of its motion

       The Court also finds that the Commission has shown that it has a

significantly protectable interest related to the subject of this case, that its interest

may be impaired by the outcome of this case, and that its interest will not be

adequately represented by Plaintiff.           Accordingly, the Court finds that the




19 Docket 1-2 at 19–20 (State EO #3-S-WR-02-22).


20 Docket 11 at 10, n.34.


21 Docket 11.


22 Dockets 12, 14.




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Commission has shown that it is entitled to intervene as of right both in the action

in general and at the preliminary injunction stage of litigation.

                                      CONCLUSION

       In light of the foregoing, IT IS ORDERED that the motion at Docket 12 is

GRANTED, and the case caption shall be amended accordingly. Defendants may

respond to the Commission’s filings with respect to a preliminary injunction by 3:00

p.m. on June 20, 2022. Oral argument on the motion for a preliminary injunction

has been scheduled for June 21, 2022, at 10:00 a.m. in Anchorage Courtroom

3. Each side shall each be accorded up to 20 minutes for its argument. Plaintiff

and Intervenor-Plaintiff are to divide the 20 minutes accorded to that side.



       DATED this 17 day of June, 2022, at Anchorage, Alaska.

                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE




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